Cage, 2510-my.07178.CJB- DPC Document 1959-1, Filed OAlLalt4, Baris 4 of 6

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

No. 11-80178

In re: STATE OF LOUISIANA,

Petitioner

Petition for Writ of Mandamus
to the United States District Court
for the Eastern District of Louisiana
USDC No. 2:10-MD-2179

Before WIENER, PRADO, and OWEN, Circuit Judges.
PER CURIAM:

The State of Louisiana (“Louisiana”) petitions for a writ of mandamus
directing the district court in the Deepwater Horizon multidistrict litigation
(“MDL”) to amend several of its pretrial orders relating to case management.
Louisiana argues that the current case-management structure infringes its
sovereignty, violates Louisiana law, and creates an irremediable conflict of .
interest, and it seeks a separate litigation “track” for governmental claims.
We deny the petition.

The writ of mandamus is a “drastic and extraordinary’ remedy ‘reserved
for really extraordinary causes.” Cheney v. U.S. Dist. Court, 542 U.S. 367, 380
(2004) (citation omitted). Accordingly, the writ may issue only if (1) the
petitioner has no other adequate means to attain the desired relief, (2) the

Case 2:10 nd 0687 95CJB-DFC Document /
ase: 11-30178 Document: 00511442196 Page: 2 Date Filed: 04/11/

No. 11-30178

petitioner has demonstrated a right to the issuance of a writ that is clear and
indisputable; and (3) the issuing court is satisfied that the writ is appropriate
under the circumstances. Id. at 380-81 (citations omitted).

“These hurdles, however demanding, are not insuperable.” Jd. at 381. In
certain circumstances, it may be proper to issue the writ “to restrain a lower
court when its actions would. .. result in the intrusion by the federal judiciary
on a delicate area of federal-state relations.” Jd. (citations and internal
quotation marks omitted). Nonetheless, “(wJhere a matter is committed to
discretion, it cannot be said that a litigant’s right to a particular result is ‘clear
and indisputable.” Allied Chem. Corp. v, Daiflon, Inc., 449 U.S. 33, 36 (1980)
(per curiam) (citation omitted).

We have long held that a district court has the inherent authority and
discretion to consolidate and manage complex litigation, particularly when
serving as the transferee court in a multidistrict proceeding. See In re Air
Disaster at Fla. Everglades on Dec. 29, 1972, 549 F.2d 1006, 1012-16 (5th Cir.
1977) (holding that an MDL transferee court has managerial power that is
“especially strong and flexible in matters of consolidation,” and that the court’s
managerial power necessarily includes the authority to appoint lead or liaison
counsel and to compensate them for their work). This discretion is
firmly grounded in the Federal Rules of Civil Procedure, particularly Rules
16, 26, 37, 42, and 83, which contain numerous grants of authority that
supplement a district court’s inherent power to manage litigation. Indeed,
Rule 16(c) expressly authorizes district courts to adopt “special procedures for
managing potentially difficult or protracted actions that may involve complex
issues, multiple parties, difficult legal questions, or unusual proof problems.”
Cage, 2:19 475407479; CIB-DRG _Decumenk 1858-2 4Figd OMSIIL Rage 9 of 6

No, 11-30178

FED, R. Civ. P, 16(c)(2)(L), Moreover, as the Judicial Panel for Multidistrict
Litigation has recognized in this very case, “[t]he transferee judge has broad

- discretion to employ any number of pretrial techniques—such as establishing
separate discovery [or] motion tracks—to address any differences among the
cases and efficiently manage the various aspects of this litigation.” In re Oil
Spill by the Oil Rig Deepwater Horizon in the Gulf of Mex., on Apr. 20, 2010, 731
F. Supp. 2d 1352, 1355 (J.P.M.L. 2010) (citation omitted).”

In this case, the district court has evaluated the nature and scope of the
various claims, and has determined that they share common fact issues and
require the same discovery with respect to the liability phase of the litigation.
Accordingly, the district court has decided to (1) consolidate and organize the
relevant claims into “pleading bundles” rather than separate litigation tracks;
(2) bifurcate the liability and damages phases of the litigation; (3) schedule a
liability trial for early 2012; (4) appoint lead, liaison, and coordinating counsel;
and (5) promulgate pretrial procedures for common discovery efforts leading
up to the liability trial. All of these decisions are committed to the discretion
of the district court, and therefore it is not appropriate for us to second-guess
them on a petition for a writ of mandamus.

To the extent that Louisiana argues that specific provisions in certain
pretrial orders (“PTOs”) unlawfully infringe its sovereignty, violate Louisiana
law, or create a conflict of interest, we find that Louisiana’s concerns are not
worthy of mandamus at this time. Mandamus is not proper when there are
other adequate means to attain the desired relief. Cheney, 542 U.S. at 380-81.

” See also MANUAL FOR COMPLHX LITIGATION (FouRTII) §§ 10.1, 13, .22, .3 (2004)
(outlining the powers and responsibilities of an MDL transferee judge).

CoB gil A USOPAE BSL OOO AGUDIE BEBE 4 FUANPEMRAL ol 4 Of ©

No. 11-30178

The district court has stated on the record that it does not intend to infringe
Louisiana’s sovereignty. Further, the court, when specifically asked to do so,
has exempted Louisiana from certain PTO provisions, and it has indicated
that it is open to entertaining future motions regarding the applicability of
other PTO provisions. In other words, the district court has made it clear that
it will grant any relief that is due to Louisiana on an order-by-order basis.
Louisiana has not demonstrated that this procedure will cause it irreparable
harm, and thus we find that it is not entitled to mandamus at this time.
PETITION DENIED.

Case 2:10-md-02179-CJB-DPC Document 1959-1 Filed 04/13/11 Page 5 of 6

United States Court of Appeals

FTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL, 504-310-7700
CLERK 600 S, MAESTRI PLACE
NEW ORLEANS, LA 70130

April 11, 2011

Ms. Loretta Whyte

U.S. District Court, Eastern District of Louisiana
500 Poydras Street

Room C-151

New Orleans, LA 70130

No. 11-30178, .In re: State of Louisiana
USDC No. 2:10-MD-2179
USDC No. 2:10-CV-3059

Enclosed is a copy of the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk

ar cdun D). Uitlertor

Dawn D. Victoriano, Deputy Clerk
504-310-7717

cc w/encl:
Ms. Mary Rose Alexander
Honorable Carl J. Barbier
Mr. David J. Beck
Ms. Carmelite M. Bertaut
Ms. Frances E. Bivens
Mr. Henry Tutt Dart
Mr. Grady Jonathan Flattmann
Mr. Robert R Gasaway
Mr. Donald Everett Godwin
Mr. Daniel O. Goforth
Mr. Glenn G. Goodier
Mr. Don Keller Haycraft
Mr. Stephen Jay. Herman
Mr. Don Jackson
Mr. Russell Keith Jarrett
Mr. Allan L Kanner
Ms. Deborah D Kuchler
Mr. James Andrew Langan
Ms. Linda R. Larson
Mr. Michael J. Lyle
Mr. Bradley Marten
Ms. Jenny LaNell Martinez
Case 2:10-md-02179-CJB-DPC Document 1959-1 Filed 04/13/11

Kerry J. Miller
Elizabeth B. Petersen
James Trey Phillips
David Allen Pote

James Parkerson Roy
Edmond Wade Shows

Paul Maury Sterbcow
Hugh Barl Tanner
Megan Kathleen Terrell
Paul C Thibodeaux
Theodore E. Tsekerides
Thomas Allen Usry
Alan M. Weigel

Phillip A. Wittmann
Robert Alan York

Mandate Issued - MDT-1

Page 6 of 6
